             EXHIBIT A



Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 1 of 10 PageID #: 8
                IN THE CHANCERY COURT OF HAMILTON COUNTY, TENNESSEE




 LENZEE RADER,                                                JURY DEMAND

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          Plaintiff                                           NO. \,
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 vs.



 TACALA TENNESSEE CORP., .•
 TACALA, LLC., and MARKO . .•
 BOTROS. .


          Defendants




                                                 COMPLAINT




          Plaintiff sues Defendants for $2, 000,0001 and shows the Court as follows:

 I.       NATURE OF PROCEEDING AND JURISDICTIONAL BASIS


           1.         This is a proceeding alleging sex discrimination/ harassment and retaliation. The

 jurisdiction of this Court is invoked pursuant to federal and state statutes prohibiting discrimination

 and retaliation and providing for back -pay and benefits due Plaintiff; for injunctive relief requiring

 Defendants' re-employment of Plaintiff; for compensatory damages; for damages for humiliation

 and embarrassment; prejudgment interest and attorney fees; and for such additional damages as may

 be necessary to effectuate the purposes of the Tennessee Human Rights Act and common law and

 all related federal claims that may later become ripe.




 1 jt is difficult to mathematically describe the damages in this case at this early juncture. ' Nonetheless, such a
 specific mathematical demand is currently required by Tennessee law, and that is why Plaintiff is including this
  specific type   of demand and this amount.
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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 2 of 10 PageID #: 9
         2.      This Court has jurisdiction over the claims asserted herein as they arise under the

  Tennessee Human Rights Act and common law. All parties herein either reside in Hamilton

  County, Tennessee or transact substantial business in this County.

         3.      Venue is proper in this Court.

  II.    THE PARTIES


         4.      Plaintiff is a female resident of Chattanooga, Hamilton County, Tennessee.

         5.      Defendant Tacala Tennessee Corp. is a Delaware corporation licensed to do and

 operate business in Hamilton County, Tennessee.          Upon information and belief, Defendant

 Tacala Tennessee Corp. was Plaintiffs employer.

         6.      Defendant Tacala, LLC is a limited liability corporation licensed to do and

 operating business in Hamilton County, Tennessee. Upon information and belief, Defendant

 Tacala, LLC. (jointly referred to with Tacala Tennessee Corp. as " Employer or Defendants") was

 Plaintiff' s employer.

         7.      Defendant Marko Botros (" Botros"), a resident of Hamilton County, Tennessee,

 was the general manager of the Taco Bell location owned and operated by Defendants where

 Plaintiff worked.


 III.    FACTUAL BASES OF PLAINTIFF' S CLAIMS


         8.      From March of 2017 until August of 2018, Plaintiff was employed by Defendants,

 first at its Taco Bell location on Highway 153 and then at its Taco Bell location at 4115 Hixson

 Pike.   Plaintiff had also previously worked for Defendants as a minor when she lived in

 Kentucky.

         9.      When Plaintiff began working for Defendants in Tennessee, she was 18 years old.




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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 3 of 10 PageID #: 10
         10.     When Plaintiff began working for Defendants, Botros was a supervisor at the

 Highway 153 location.

         11.     Botros, who was almost 30 at the time, took an interest in Plaintiff.

        12.      In October of 2017, Botros became the General Manager of the Hixson location.

         13.     Around the time Botros became the General Manager of the Hixson location,

 Botros recruited Plaintiff to transfer to his new location, promoted Plaintiff to the position of

 shift lead, and gave her a raise in pay.

         14.     Shortly thereafter, Botros invited Plaintiff to socialize outside of work, even

 though he was her manager and even though Botros has a live-in girlfriend.

         15.     In December of 2017, Botros made sexual advances to Plaintiff and Plaintiff

 reciprocated.


         16.     Botros and Plaintiff engaged in sexual activities at and outside of work.

         17.     Indeed, it was common within Defendants' business for male managers to become

 involved with female subordinates. For example, the gentleman to whom Botros reported, who

 was the only upper manager in the area, was having an affair with one of his subordinates.
         18.     So long as Plaintiff continued to have sexual relations with Botros, she was

 praised for her work and successful as an employee.

         19.     In January of 2018, Plaintiff learned that she had become pregnant by Botros.

         20.     When Plaintiff told Botros that she was pregnant, Botros immediately came to her

 home Botros was very angry and out of control. Botros told Plaintiff that her grandmother
 would kick her out of the home if she found out that Plaintiff was pregnant and that Plaintiff

 would have nowhere to live. Plaintiff was living with her grandmother at the time while she was

 enrolled in college and working full time. Botros then told Plaintiff that he would kill her if she


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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 4 of 10 PageID #: 11
 did not have an abortion because he could not afford for his girlfriend/ wife to find out about it.

 Botros said he would lose his home if that occurred.

        21.     Plaintiff was opposed to the idea of getting an abortion. However, she was

 terrified about her situation and Botros' reaction to the news.


        22.     When Plaintiff worked the following week, Botros constantly questioned her

 about whether she had scheduled an appointment or called the abortion clinic.          Plaintiff was


 unaware of any information about abortion clinics.          Botros was familiar with a clinic in

 Knoxville and with one in Atlanta; he said that he had taken a girl to one of those locations in the

 past to get an abortion.

         23.    Due to Plaintiff' s hesitancy, and while at work, Botros phoned the abortion clinic

 in Atlanta and compelled Plaintiff to set up the appointment in front of him. He said he wanted

 her to go to the one in Atlanta so he would only have to drive her there once.
         24.    Botros then drove Plaintiff to the abortion clinic on January 19, 2018, compelled

 Plaintiff to go through with the process, and then paid for it with his credit card.

         25.     Following the experience, Plaintiff became very ill. As a result, Plaintiff had to

 miss work for approximately one week, although Botros told her he would make it appear as

 though she was working.        Botros offered Plaintiff muscle relaxers to " ease the pain" and

 eventually took her to the emergency room.

         26.     Following Plaintiff' s compelled abortion, Botros began treating Plaintiff in a very

 hostile manner at work. He called her a " whore" and " fat" in front of the shift employees she

 was supposed to supervise.

         27.     Botros told Plaintiff that he began using methamphetamine in the Spring of 2018.




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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 5 of 10 PageID #: 12
         28.     As a result of all of this, Plaintiff frequently cried at work and suffered

 tremendously.

         29.     Plaintiff ended her sexual relationship with Botros in July of 2018.

         30.     Botros became livid and the hostility at work became unbearable.

         31.     Botros threatened to fire and/ or demote Plaintiff on a regular basis following the

 end of their sexual relationship.

         32.     In August of 2018, after Botros' telling Plaintiff that he was going to fire her

 repeatedly and treating her in a shameful and degrading manner in front of her staff, Plaintiff

 said that she could not take any more. Botros told Plaintiff to draw unemployment and to tell the

 unemployment office that she was fired. Plaintiff never received any paperwork relating to her

 separation.



         33.     Botros' treatment of Plaintiff was severe and pervasive and formed the basis for a

 hostile work environment.

         34.     Plaintiff was terminated shortly after she refused to continue to engage in sexual

 activities with Botros.

         35.     As a result of Botros' actions, Plaintiff has suffered considerable damage. Due to

 the abortion she was compelled into getting, the hostile atmosphere she faced after her compelled

 abortion, the retaliation she suffered after resisting/lamenting the abortion, and as a result of her

 ending the sexual relationship she had with Botros, Plaintiff has endured tremendous mental
 distress.


         36.     By forcing Plaintiff to get an abortion, Botros engaged in criminal conduct under

 Tennessee law.      Tenn. Code Ann. 39- 15- 201( b)( 3) makes it unlawful for anyone to compel,

 coerce, or exercise duress towards a female in order to get them to procure an abortion.



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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 6 of 10 PageID #: 13
         37.     Under the doctrine of respondeat superior, Defendants are liable for the actions of


 its agents, including Botros.

         38.     All of the actions herein constituted a continuing violation.

         39.     Plaintiff filed a complaint with the Equal Employment Opportunity Commission

 on January 14, 2019.

 IV.     PLAINTIFF' S CLAIMS


         40.     Plaintiff was discriminated against and harassed by the Defendants on the basis of

 her gender in violation of the Tennessee Human Rights Act, Tenn. Code Ann. § 4- 21- 401, et seq.

         41.     Plaintiff was subsequently retaliated against by Defendants for complaining about

 the gender discrimination and harassment and for refusing to engage in continued sexual

 relations with Botros in further violation of the Tennessee Human Rights Act, Tenn. Code Ann.


   4-21- 401, et seq.

        42.      Additionally, Plaintiff faced a hostile work environment on the basis of her

 gender and protected activity in violation of the Tennessee Human Rights Act, Tenn. Code Ann.

   4-21- 401, et seq.

        43.      Botros' conduct rose to the level of committing the tort of intentional and/or

 negligent infliction of emotional distress towards Plaintiff when he: ( a) used his managerial


 status to get Plaintiff to agree to engage in a sexual relationship, ( b) treated her with extreme

 hostility and threatened her life when he learned she was pregnant, ( c) compelled her to get an

 abortion, ( d) treated her with extreme hostility and subjected her to public humiliation because of

 her gender and particularly after she ended their sexual relations, ( e) and ultimately caused her

 damages that will likely last her entire life,




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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 7 of 10 PageID #: 14
  V.      DAMAGES


          44.
                  As a result of the wrongful action of Defendants in discriminating against, harassing,
  and terminating Plaintiff, Plaintiff has suffered both financially and emotionally. In particular,
  Plaintiff lost and will continue to lose salary, opportunities for advancement, and various employee

  benefits, which she would have earned had she been allowed to continue in her employment with

  Defendants. In addition to the financial loss Plaintiff has sustained, she has suffered great mental
  anguish as a result of the embarrassment and humiliation that she experienced because of
  Defendants' actions.

  VI.    PRAYER FOR RELIEF


         WHEREFORE, Plaintiff respectfully prays as follows:

         a.
                 That the Court issue and serve process on Defendants and require Defendants to

  answer within the time prescribed by law;

         b.
                 That upon the hearing of this cause, Plaintiff be awarded judgment for damages for

 lost wages and the value of all employment benefits, which she has lost from the date of

 Defendants' discriminatory action;

         c.
                 If feasible, that the Court issue an injunction requiring Defendants to re-employ
 Plaintiff at an equivalent job with all employment rights and benefits to which she would have been

 entitled but for her discharge, and without harassment or illegal conditions imposed on her job, or,
 in the alternative, front pay and benefits in lieu of reinstatement;

         d.
                 That Plaintiff be awarded additional compensatory damages, including damages for

 humiliation and embarrassment, and emotional distress, as are allowed pursuant to the provisions of
 all relevant laws;




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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 8 of 10 PageID #: 15
        e.
                 That Plaintiff be awarded attorney fees and such other and further relief as the Court

 deems proper;

        f.       That Plaintiff be awarded all compensatory and punitive damages as the Court

 deems proper; and

        g•       Plaintiff demands a jury to try all claims and issues triable by a jury.

                                                 BURNETTE, DOBSON & PINC

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                                                         Kathleen Si•.      o, # 036935
                                                         Attorneys fo '   laintiff
                                                         711 Cherry Street
                                                         Chattanooga, TN 37402
                                                         Phone: ( 423) 266- 2121
                                                         Fax: ( 423) 266- 3324




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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 9 of 10 PageID #: 16
            IN THE CHANCERY COURT OF HAMILTON COUNTY, TENNESEE



  LENZEE RADER,                                                   JURY DEMAND


          Plaintiff                                               NO. `   91- o o '),9
  vs.



  TACALA TENNESSEE CORP.,
  TACALA, LLC., and MARKO
  BOTROS,


          Defendants




                                            COST BOND


         The undersigned acknowledges and hereby binds the undersigned for the payment of all

  costs in this court which may at any time be adjudged against the plaintiff in the event said plaintiff

  shall not pay the same if so ordered by this court.

          Witness my hand this                  y of                            2019.


                                                       BURNETTE, DOBSON & PINCHAK



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                                                                  Chattanoo .          37402
                                                                  423) 266-2121 phone
                                                                  423) 266- 3324 fax




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Case 1:20-cv-00056-JRG-CHS Document 1-1 Filed 02/27/20 Page 10 of 10 PageID #: 17
